
*1168OPINION.
AransrDELL:
We have here facts on all fours with those in the case of Fanny Newman v. Commissioner, 6 B. T. A. 373, and following the decision therein we hold here that the notice upon which the petition is based is a notice of the determination of a deficiency as defined by the statute and that we have jurisdiction. See also Austin Co. v. Commissioner, 8 B. T. A. 628.
The notice of the determination having been sent after the enactment of the Revenue Act of 1926, assessment and collection must be in accordance with that Act, which provides in section 1109 that assessment shall be made within four years after the tax .became due. The estate tax under the Revenue Act of 1918, which was in effect at the time of the death of petitioner’s decedent, was due one year after the decedent’s death (section 406), that is, on January 1, 1920. As more than four years elapsed between that date and the date of the notice of the determination of the deficiency, assessment, on the face of the pleadings, is barred. The pleadings do not indicate, nor has the respondent shown, anything that would make any of the exceptions io the four-year period applicable.

Judgment of no deficiency will be entered.

